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      UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                        No. 23-2357

         Industria de Alimentos Zenu S.A.S. v. Latinfood U.S. Corporation, et al

                                (D. NJ. No. 2-16-cv-06576)

                                        ORDER

It appearing that a timely post-decision motion of a type specified by Fed. R. App. P.
4(a)(4), is pending in the District Court, it is hereby ORDERED that the above-entitled
appeal(s) is(are) stayed pending disposition of the motion. The parties are directed to file
written reports addressing the status of the pending motion on 09/06/2023 and every
thirty (30) days thereafter until the last motion is decided. The stay will automatically
expire upon entry of the order disposing of the last post-decision motion.

This stay does not apply to the obligation to pay filing and docketing fees or the
filing of the case opening forms. These obligations must be fulfilled within the time
specified by the Federal Rules of Appellate Procedure and Third Circuit Local Appellate
Rules.

It should be noted that, pursuant to Fed. R. App. P. 4(a)(4)(B)(ii), any party who wishes
to challenge the order disposing of the post-decision motion must file a notice of appeal,
or an amended notice of appeal. The notice of appeal or amended notice of appeal must
be filed within the time prescribed by Fed. R. App. P. 4(a), measured from the date of
entry of order disposing of the last remaining post-decision motion.


For the Court,

s/ Patricia S. Dodszuweit
Clerk

Dated: August 7, 2023
